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                                          UNlTED STATES BANK1U)1'fCY COURT
                                         Southern District of Florida
    Name of Debtor (ifindividual, eolllr Last. First, Middle):                                           me ofJoint Debtor (Spouse) (Last, First, Middle):
    James, Edns,L nnette                                                                                      S,   Keith, Alan
    All Other NallleS used 1:>y the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the lastS years
    (include married, maiden, and tnlde names):                                                        (include married, maiden, and trade names):
    Same                                                                                               same
    Last fourdigilSofSoc. Sec. or Individual-Taxpayer 1.0. (!TfN)/Complete EIN                         Last four digits of Soc. Sec or Individual-Taxpayer 1.0, (ITIN)lComplete EIN
    (if more than one, state aU):                                                                      (if more tban one, state all):
    8471                                                                                               2513
    Street Address of Debtor (No. and Street, City, and State):                                        Street Address of loint Debtor (No, and Street, City, and State):
    3821 Northwest 175 Street                                                                          3821 Northwest 175 Street
    Miami Gardens, Florida                                                                             Miami Gardens, Florida
                                                                        IF CODE 33055
    County of Residence or of the Principal Place of Business;                                         County of Residence or of the Principal Place of Business:
    Miami-Dade                                                                                         Miami-Dade
    Mailing Address of Debtor (if different from street address);                                      Mailing Address of Joint Debtor (if difrerent from street address):
    same                                                                                               same

                                                                     PCODE                                                                                           IPCODE
    Location of Principal Assets of Business Debtor (ifdifferent from street address above):
    same                                                                                                                                                             IPCODE
                             Type of Debtor                                           Nature of BU$inC!$$                              Chapter or Bankruptq Code Uader Which
                         (Form of Organization)                         (Check olle box )                                                 the Petilion is Filf!d (Check one box)
                            (Cheek one box.)
                                                                        o      Health Care Business                            ~       Chapter 7            D   Chapter J5 Petition for
    1!1     IndiVidual (includes Joint Debtors)                         o      Single Asset Real Estate as defined       III   D       Chapter 9                Recognition of a Foreign
            See Exhibit D ()tt page 2 a/this/orm.                              II U.SC § 101(51 B)                             D       Chapter 11               Main Proceeding
    D       Corporation (includes LLC and LLP)                          o      Railroad                                        0       Chapter 12           D   Chapter 15 Petition for
    D       Partnership                                                 D      Stockbroker                                     D       Chapter 13               Recognition of a Foreign
    D       Other (If debtor is not one of the above entities, check    o      Commodity Broker                                                                 NO!lmain Proceeding
            this box and state type ofentity below.)                    o      Clearing Bank
                                                                        D      Other
                        Chapter 15 Debtors                                            Tax-Exempt Entity                                                Nature or Debls
    Country of debtor's cenler of main interests:                                  (Check box, if appl icable.)                                       (Check one boll.)
                                                                                                                               IZI   Debts are primarily consumer D Debts are
                                                                        D     Debtor is a tax-exempt organization                    debts, defined in II U.s.C.        primarily
    Each country in which a foreign proceeding by. regardinfl,. or            under title 26 of the United States                    § 101(8) as ~incurred by an        business debts,
    against debtor is pending:                                                Code (the Internal Revenue Code).                      individual primarily for a
                                                                                                                                     personal. family, or
                                                                                                                                     household purpose."
                                     Filing Fee (Check one box.)                                                                         Chapter 11 Debtors
                                                                                                       Check one box:
    o       full Filing Fee attached,                                                                  o     Debtor is a small business debtor as defined in II U.S,C, ~ 101(510).
                                                                                                       o     Debtor is nou small business debtor as defined in 11 US.c. § 101(510).
    liZ!    Filing Fee to be paid in installments (applicable to individuals only), MilS! altaCh
            signed application for the court's consideration certifying thatlhe debtor is              Check It:
            unable to pay fee except in installments, Rule lOO6(b}, See Official Form lA.              D     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,343,300 (amount :mojecl to adjustment
    o       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                     on 410II13 and every thru yeor$lilerea/ter),
            attach signed application for the court's consideration. See Official Form lB.
                                                                                                       Check all applkable boxes:
                                                                                                       D     A plan IS being filed with this petition.
                                                                                                       o     Acceptances or the plan were solicillld prepetition from one or more classes
                                                                                                             of creditors in accordance with 11 U.S.C. 112 b.
                IIAdmtnistrativc Information                                                                                                                           THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
    o         Debtor estimates that funds will be available for dislribution to unsecured creditors.
    121       Debtor estimates that, aftcr any exempt property is excluded and administrative expenaes paid, there will be no funds available for
              distribution to unsecured creditors,
    Estimated Number (If Creditors
    ~
    1-49
               0
               50-99
                               0
                               100-199
                                                  o
                                               200·999
                                                            D
                                                            1,000­
                                                                            D
                                                                            5,001­
                                                                                            D
                                                                                            10,001­
                                                                                                         D
                                                                                                         25,001­            50,001·
                                                                                                                                       o     D
                                                                                                                                             Over
                                                            5,000            10,000         25,000       SO,OOO             100,000           100,000
    Estimated Assets
    121            0              D               0              0             0                   0                 D                 D                0
    $0 to          $50,001 to     SIOO,OOI to     S5oo,ool       $1,000,001    $10,000,001         $50,000,001       $100,000,00\      $500,000,001     More than
    S50,000        $100,000       $500,000        10$1           10S10         to $50              to SIOO           to $500           to $1 billion    $1 billion
                                                  million        million       million             million           ,nillion
    Estimated Liabilities
    D              0              liZ!            0              0             D                   D                 D                 0                D
    $0 to          $50,001 to     SIOO,OOI to     $500,001       5\,000.001    $10,000,001         $50,000,001       Sloo,OOO,oo I     $500,000,001     More than
    $50.000        $100.000       S500,OOO        to$1           to $10        to S50              toS100            toS500            I.oSI billion    $1 billion
                                                  million        million       milliDn             million           million




J
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Bl (Offtclal Form 1) (lUll)                                                                                                                                                  Pale 1
 Volu nta ry PetitioD                                                                          Nrr~ OftbtOr(S~                          .
 (This page mllSt be completed andfiled in every case.)                                              na ynne e James & Ketth Alan James
                                        All Prior BIIuknlptey Cases Filed Witllirl lastS Years (If more than two attlCh additional sheet.)
 Location                                                                                      CaseN~r:                                          Dale Filed:
 Where Filed:          Southern District of Florida                                              11-44     ()"LM1                                 0210912012
 Location                                                                                      Case Number:                                      Date Filed:
 Where Filed:
                         Pendlnll BaBkruptey Case FIled by allY Spouse, Plirtoer. or Afftliate of this Debtor (1f more than one attach additional sheet.)
 Name of Debtor:                                                                          Case Number:                                   Date Filed:
                     Keith Alan James                                                            11-44290-LM1                                     0210912012
 District: Southern District of Florida                                                        Relationship:                                    JUd~:
                                                                                                 Spouse                                           L I

                                        Exhibit A                                                                                   Exbibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 lOQ) with the Securities and Exchange Commission pursuant to Section 13 or 15(d}                                   whose debts are primarily consumer debts.}
 of the Securities Exchange Act of 1934 and is requesting rei ief under chapler II.)
                                                                                               I, the attomey for the petitioner named in the foregoing petition, declare that I have
                                                                                               informed the petitioner tllat [he or she] may proceed under chapter 1, II, 12. or 13
                                                                                               of title I I. Uniled States Code, lind have explained the relief available under each
                                                                                               such chapter. I further certify that J have delivered to the debtor the notice required
                                                                                               by II U.S.c. § 342(b).
 0       Exhibit A is attached and made a part of this petition.
                                                                                               X
                                                                                                    SilUlature of Attorney for Debtor(s)      (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession ofany property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

  0      Yes, and ExhibitC is attached and made a pan of this petition.

  III    No.


                                                                                      Exhibit D
  (To be completed by every individual debtor. If 8 joint petition is filed. each spouse must complete and attach a separate Exhibit D.)

  !if    Ellhibil D. completed and signed by the debtor, is attached and made a pan oflhis petition.

  Ifthis is ajoint petition:

   III   Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Inronnatlon Regardilllthe Debtor· Venue
                                                                                (Check any applicable box)
               Ii1     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part ofsuch 130 days than in any other District.

               0       There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership peoding in Ihis District.

               0       Debtor is a debtor in a foreign proceeding and has its principal place of'business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sougllt in this District.


                                                   Certllleation by. Debtor Wbo Resides lIS a Tenant or Rrsldeotial Property
                                                                          (Check all applicable boxes.)

               0          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked. complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

               0          DeblOr claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

               0          Debtor 1\115 included with this petitk>n the deposit with tl\e court of any rent that would become due during the 30-day period   afteT   the filing
                          of the petition.

               0          Debtor certifies that he/she has served the Landlord with this certIfication. (\ I U.S.C. § 362(1».
                                    Case 12-30398-RAM                            Doc 1           Filed 08/28/12                  Page 3 of 7

                                                                                                                                                                            Pa     3
                                                                                            Name of Debtor(s):
                                                                                            Edna Lynnette James & Keith Alan James

                    Sigl1ature(s) of Debtor(s) (Individual/Joint)                                                   Signature of a Foreign Represetltatlve

I declare under penalty of perjury that the infonnation provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapler 7] I am aware that I may proceed under chapter 7, II, 12
                                                                                            (Check only one box.)
or 13 of title I I, United States Code, understand the rei ief available under each such
chapter, and choose to proceed under chapter 7.
[Ifno attorney represents me and no bankruptcy petition pre parer signs the petition]
                                                                                            o    I request relief in accordance with chapter 15 of title II, United States Code.
                                                                                                 Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by II U.SC § 342(b).

                                 with the chapter of title II, United States Code,
                                                                                            o   Pursuant to 11 US.c. § 1511,1 request relief in accordance with the
                                                                                                chapter of title II specified in this petition. A certified copy of the
                                                                                                 order granting recognition of the foreign main proceeding is attached.

x                                                                                           x
                                                                                                (Signature of Foreign Representative)

x
                                                                                                (Printed Name of Foreign Representative)

     Tel~one     Number (if not represented by attorney)
             - Vb-I ;2L                                                                         Date
     Date
                               Signature of Attorney·                                                   Signature of Non-Attorney Bankruptcy Petition Preparer

x                                                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
                                                                                            provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b). 110(h), and 342(b); and, (3) if rules or
                                                                                            guidelines have been promulgated pursuanllo 11 US.C § 110(h) setting a maximum
     Finn Name                                                                              fee for services chargeable by bankruptcy petition preparers, J have given the debtor
                                                                                            notice of the maximum amount before preparing any document for filing for a debtor
                                                                                            or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.
     Address

     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer

      Date
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual,
'In a case in which § 707(bX4)(D) applies, this signature also constitutes a                     state the Social-Security number of the officer, principal, resjl.onsible person or
certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by II U.S.C. § 110.)
in the schedules is incorrect.

                  Signature of Debtor (CorporalionlPartnership)

I declare under penalty of perjury that the information provided in this petition is true        Address
and correct, and thal I have been authorized to file this petition on behalf of the
debtor.
                                                                                            x
The debtor requests the relief in accordance with the chapter of title II, United States         Signature
Code, specified in this petition.

x                                                                                                Date
      Signature of Authorized Individual
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                 parmer whose Social-Security number is provided above.

      Title of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                            in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                            individual.

                                                                                            If more than one person prepared this document, attach additional sheets conforming
                                                                                            to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer's failllre to comply with the provisions of title II and
                                                                                            the Federal RllleJ of Bankruptcy Procedure may result infines or imprisonment or
                                                                                            both. /I u.s.c. I/O; 18 U.S.c. 156.
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BID (Off..:ia\ Fonnl. Exnibit D)(I2109)



                       UNITED STATES BANKRUPTCY COURT
                               Southern District Florida


          In re Keith        Alan James                             Case No.
                               Debtor
                                                                               --  ----
                                                                                (if known)




     EXHmIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. Uyou cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. Uyour case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors'
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete andfile a separate Exhibit D. Check one ofthe five statements below and attach
any documents as directed.

       vI I. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy ofthe certificate and a copy ofany debt repayment plan
developed through the agency.

        02. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy ofa certificate from the agency describing the
services provided to you and a copy ofany debt repayment plan developed through the agency
no later than J 4 days after your bankruptcy case is filed.
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                                                                                                    Page 2
  B ID(Official Form I, Exn. D)(J2/09)-Cont.


        03. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver ofthe credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy ohny debt management plan developed througb the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed ifthe court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       04. J am not required to receive a credit counseling briefing because of: [Check the
applicable statement.} [Must be accompanied by a motion for determination by the court.)

                 o Incapacity. (Defined in II U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 o Disability. (Defined in 11 U.S.C. § I09(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 o Active military duty in a military combat zone.
         o
         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of II U.S.C. § 109(b) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                       Signature of Debtor: --IJ~-=-....L-=--=-"':"':"4~~~

                                       Date: ........::~_....;.---:...-=-~
                     Case 12-30398-RAM      Doc 1     Filed 08/28/12       Page 6 of 7




BID (Official Form I,E)(/}ibit D)(I2109)



                        UNITED STATES BANKRUPTCY COURT
                                Southern District of Florida


          In re Edna          Lynnette James                        Case No.- - - - - ­
                                Debtor                                           (if known)




     EXHIBIT D -INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one ofthe five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may bave to take extra steps to stop creditors'
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete andfile a separate Exhibit D. Check one ofthe five statements below and attach
any documents as directed

       Of 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the        [
                                                                                                     I
services provided to me. Attach a copy ofthe certificate and a copy ofany debt repayment plan
developed through the agency.

        a 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy ofa certificate from the agency describing the
services provided to you and a copy ofany debt repayment plan developed through the agency
no later than J4 days after your bankruptcy case is filed
                   Case 12-30398-RAM                   Doc 1      Filed 08/28/12   Page 7 of 7




                                                                                                 Page 2
  BID (Official Fonn I, Exh. D) (12/09) - Cont.


        03. [ certifY that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time 1 made my request, and the
following exigent circumstances merit a temporary waiver ofthe credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




       If your certification Is satisfactory to tbe court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from tbe agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension ofthe 3O-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       04. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.} [Must be accompanied by a motion for determination by the court.]

                    oIncapacity. (Defined in 11 U.S.C. § I09(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 ['j Disability. (Defined in 11 U.S.c. § 109(h)(4) as physically impaired to the
         extent of being unabJe, after reasonable effort, to participate in a credit counseling
         briefing in person, by teJephone, or through the Internet.);
                 o Active military duty in a military combat zone.
       ['j 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § l09(h) does not apply in this district.


         I certify under penalty of perjury tbat the information provided above is true and
correct.


                                          Signature   ofDebto~ ~ i.. ~
                                                          1
                                         Date: ~ - a2<K - J,..,
